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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CRIMINAL NO. 21-cr-670
               v.                             :
                                              :
STEPHEN K. BANNON,                            :
                                              :
                       Defendant.             :

         UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION IN LIMINE
            TO EXCLUDE EVIDENCE OR ARGUMENT RELATING TO
           GOOD-FAITH RELIANCE ON LAW OR ADVICE OF COUNSEL

       It is a settled question that reliance on the law and advice of counsel provide no defense to

contempt of Congress, and longstanding and controlling Supreme Court and Circuit precedent

establish that neither is available to a defendant who deliberately refuses to comply with a valid

congressional subpoena. Having chosen to ignore a congressional subpoena that required him to

produce documents and appear for testimony, the Defendant, Stephen K. Bannon, cannot change

binding law now that he is facing the consequences of his decision. The Government’s motion to

exclude evidence or argument related to these defenses should be granted.

I.     The Defendant’s Incomplete Factual Recitation Attempts to Conceal His Bad Faith.

       The facts underlying the Defendant’s contemptuous conduct are immaterial to the legal

question of whether a good faith defense is available to him. But the inaccurate recitation of facts

in the Defendant’s opposition requires the Government to correct the record and make clear that,

regardless of what the law may require, the Defendant and his attorney, Robert J. Costello, pursued

a bad-faith strategy of total noncompliance with a valid congressional subpoena.

       On September 23, 2021, the Select Committee to Investigate the January 6th Attack on the

United States Capitol (“the Committee”) issued a subpoena to the Defendant for documents and

testimony. Indictment, ECF No. 1, ¶ 7. The Defendant’s inaccurate recitation of facts begins here.
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The Defendant suggests that the Committee did not properly serve the subpoena. ECF No. 30 at

5 (“Despite not having received acceptance of service, Ms. Amerling sent an attachment to the

email that included a ‘Proof of Service’ which stated that she had ‘Served’ the subpoena on

‘9/23/21’ and the ‘Manner of service” was ‘email to attorney for Mr. Bannon, Robert Costello.’”).

The email correspondence to which the Defendant refers, but does not attach to his pleading,

instead shows that the Committee asked Mr. Costello, as the Defendant’s attorney, if he would

accept service on the Defendant’s behalf and stated that it was attaching the subpoena “in the

event” he did. Ex. 1 at US-001038. The Committee by this email did not assume service complete.

The next day, September 24, 2021, Mr. Costello confirmed that the Defendant had authorized him

to accept service. Id.

       When he was served with the subpoena, the Defendant was a private citizen; although he

had been a White House advisor for seven months at the beginning of former President Donald J.

Trump’s term, at the time the subpoena issued, he had not been an Executive Branch employee for

more than four years. Indictment ¶ 6. And the subpoena sought records and testimony completely

unrelated to his time in the White House. The Committee’s cover letter to the subpoena explained

that it sought information from the Defendant because he had information relevant to January 6,

2021, including that he had been identified as present on January 5 for “an effort to persuade

Members of Congress to block the certification of the election” and was quoted as having said that

day, “All hell is going to break loose tomorrow.” Id. ¶ 7.

       The subpoena required the Defendant to appear and produce documents to the Committee

by 10:00 a.m. on October 7, 2021, and to appear for a deposition before the Committee on October

14, 2021. Id. ¶ 8. It also included clear instructions for compliance with the subpoena’s demands.

Id. ¶¶ 10-14. With respect to documents, the subpoena made plain that, if the Defendant could not




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fully comply with the subpoena’s demand by October 7, he should comply to the extent possible

and tell the Committee when he could accomplish full compliance; in addition, the subpoena

directed that if the Defendant withheld documents for any reason, including a privilege, he should

provide a detailed log of such documents to the Committee. Id. ¶ 12. Regarding the Defendant’s

required appearance at a deposition, the Committee provided the House of Representatives’

established rules for depositions, which made clear that to assert a privilege, the Defendant had to

appear for the deposition and assert the privilege on a question-by-question basis. Id. ¶ 14.

       The Defendant’s next steps after receiving the subpoena are where the Defendant’s

narrative again leaves out important facts. The Defendant claims that the former President’s

lawyer, Justin Clark, reached out to Mr. Costello on October 5, 2021, to inform him that the former

President was invoking executive privilege. ECF No. 30 at 5. What he does not disclose is that,

in the eleven days after accepting service of the subpoena, instead of gathering and reviewing

potentially responsive records, Mr. Costello had spent the time searching for an attorney

representing former President Trump. See Interview of Robert Costello, ECF No. 28-4 at 5; id. at

7 (“Costello was not prepared to respond on Bannon’s behalf on October 7, 2021. At that time,

Costello did not know what Bannon possessed that would have been responsive.”). Mr. Costello

seemingly did so because he was trying to help the Defendant find a way to avoid compliance with

the subpoena; indeed, contrary to what the Defendant suggests to the Court, Mr. Costello told the

Government that he believed he may have attempted to contact Clark first and that, when they

finally made contact, it was Mr. Costello who may have initiated a discussion of executive

privilege. Id. at 5, 10. Moreover, although Mr. Costello claims that Clark stated that former

President Trump was “invoking executive privilege with respect to the Select Committee’s

subpoena directed to Mr. Bannon,” Costello Decl., ECF No. 30-1, ¶ 10, as outlined below, the




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former President never properly did so, and the Defendant and Mr. Costello knew this.

       On October 6, 2021, after his phone call with Mr. Costello, Clark sent him a letter, as the

Defendant outlines in his opposition. ECF No. 30 at 5. But, as is clear on the face of the letter,

nowhere in it did former President Trump assert executive privilege over any document in the

Defendant’s possession or any testimony the Defendant may be called to provide. See Gov’t Opp’n

to Mot. to Compel, Ex. 2, ECF No. 31-2 (October 6, 2021, Letter from Justin Clark). Nevertheless,

the Defendant endeavored over the next eight days to use the letter to refuse compliance, at any

level, with the subpoena’s demands.

       First, the Defendant did not comply in any way with the subpoena’s document demand by

the 10:00 a.m. deadline on October 7, 2021. Indictment ¶ 15. The Defendant did not reach out to

the Committee to discuss the subpoena, request an extension, or provide a log of withheld records.

Id. In fact, by the due date, the Defendant had taken no steps to determine what responsive

materials he may possess. See ECF No. 28-4 at 7. Instead, seven hours after the Defendant

willfully defaulted on the subpoena’s document demands, Mr. Costello sent a letter to the

Committee claiming the Defendant would not comply with the subpoena because of the October

6, 2021, letter from Clark. Indictment ¶ 16. The Defendant did this, despite Mr. Costello having

identified categories of information they understood could not possibly implicate executive

privilege, see ECF. No. 28-4 at 4, 6, 9—another fact the Defendant omits from his narrative.

       The following day, on October 8, 2021, the Committee Chair responded to Mr. Costello’s

letter. Indictment ¶ 17. In particular, the Committee Chair’s letter noted that the former President

had not actually asserted executive privilege; that, in any event, most of the documents and

testimony the Committee sought from the Defendant were not possibly covered by executive

privilege; that the Defendant was required to provide non-privileged documents and a log of




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withheld records; and reiterated the subpoena’s requirement that the Defendant appear for his

October 14 deposition and raise any privilege assertions in-person before the Committee. Id.

Finally, the Committee Chair warned the Defendant that continued willful noncompliance with the

subpoena could subject him to criminal prosecution. Id.

       For several days, the Defendant did not respond to the Committee. On October 12, 2021,

a Committee Senior Investigative Counsel (“Committee Counsel”) reached out to Mr. Costello by

telephone to determine whether the Defendant would appear as required on October 14 so the

Committee could make logistical preparations. Ex. 2 at US-000360 (Interview Report, Committee

Counsel). Mr. Costello responded that the Defendant was unlikely to appear and that he would

send a letter to the Committee the following day. Id. Committee Counsel contacted Mr. Costello

by email the next day, October 13, at 12:35 p.m., asking again about the Defendant’s deposition.

Ex. 3 (October 13, 2021, Email from Committee Counsel). At the same time, and seemingly for

the first time, with the deadline looming, Mr. Costello sent an email to Clark attaching the

Committee Chair’s October 8 letter rejecting the Defendant’s pretenses for refusing to comply

with the subpoena, and writing to Clark, in part:

       Apparently they do not recognize your letter to the subpoena recipients as an
       invocation of executive and other privileges. I would strongly suggest that a direct
       communication from you on behalf of President Trump would clarify the
       President’s position with respect to the document request and the deposition
       requests.

Ex. 4 at US-000999 (October 13, 2021, Email from Costello). This was not Mr. Costello’s only

recognition that the former President had not actually invoked executive privilege. As he told the

Government, over the course of the Defendant’s dealings with the Committee, Mr. Costello

reached out to Clark several times to try to have the former President make a direct invocation, but

Clark refused. ECF No. 28-4 at 7-8, 9.




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       After sending the email to Clark, Mr. Costello called Committee Counsel and informed

him that the Defendant would not appear for a deposition the following day. Ex. 5 at US-000390

(October 13, 2021, Email from Committee Counsel). The Defendant claims that Mr. Costello

informed Committee Counsel in a call on October 13 that the Defendant could not appear if former

President Trump’s counsel were not allowed by the Committee to appear. ECF No. 30 at 7. But

this suggestion that he made former President Trump’s counsel’s appearance a condition of

compliance conflicts with Mr. Costello’s statements to the Government and contemporaneous

evidence. In his interviews with the Government, Mr. Costello stated that, on the call, he told

Committee Counsel only that he noticed the Committee’s rules barred attorneys other than the

witness’s from attending the deposition, and Mr. Costello conceded that he did not ask Committee

Counsel to change the rules because he noted that Committee Counsel was not in a position to do

so. ECF No. 28-4 at 6. This aligns with an email Committee Counsel sent the same day recounting

the conversation and noting that Mr. Costello inquired—but said that he did not need an immediate

answer—whether there was a way for a lawyer for former President Trump to appear at the

Defendant’s deposition. Ex. 5 at US-000389. Never did the Defendant raise the attorney rules as

an objection to the Committee. ECF No. 28-4 at 6. And, as Mr. Costello told the Government,

but does not tell the Court, never did he ask Clark if counsel for former President Trump wanted

to attend. ECF No. 28-4 at 10.

       After his calls with Committee Counsel on October 13, 2021, at 5:19 that evening, Mr.

Costello sent a letter to the Committee Chair reiterating that the Defendant would refuse to produce

documents or appear for a deposition until “such time as you reach an agreement with President

Trump or receive a court ruling as to the extent, scope and application of the executive privilege.”

Indictment ¶ 18.




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       As the Defendant recounts in his opposition, on the morning of October 14, 2021, the

Defendant failed to appear for a deposition as required by the subpoena. ECF No. 30 at 8;

Indictment ¶ 19. He omits from his retelling, however, that, while he was using Clark’s October

6 letter as an excuse for total noncompliance, the former President’s lawyer was admonishing that

the Defendant not do so. On the afternoon of the Defendant’s default, on October 14, Clark sent

an email to Mr. Costello suggesting that Mr. Costello had misrepresented Clark’s position to the

Committee in his October 13 letter, writing in part:

       I just read your letter dated October 13, 2021 to Congressman Benny [sic]
       Thompson. In that letter you stated that ‘[a]s recently as today, counsel for
       President Trump, Justin Clark Esq., informed us that President Trump is exercising
       his executive privilege; therefore, he has directed Mr. Bannon not to produce
       documents or testify until the issue of executive privilege is resolved.’

       To be clear, in our conversation yesterday I simply reiterated the instruction from
       my letter to you dated October 6, 2021, and attached below.

Ex. 6 at US-000987-88 (October 14, 2021, Costello Email Chain). Almost immediately, Mr.

Costello forwarded Clark’s message to the Defendant, writing:

       This is not accurate. He definitely stated that Trump was invoking the executive
       privilege. . . . I also told him to not leave anyone guessing he should send an email
       to the House stating Trump’s invocation of executive privilege. I don’t know what
       game Clark is playing but it puts Steve Bannon in a dangerous position. Beware.”

Id. at US-000987 As Mr. Costello told the Government, he said, “Beware,” “to warn Bannon his

failure to comply could result in a referral to DOJ.” ECF No. 28-4 at 13. Mr. Costello took no

steps, however, to contact the Committee and correct the representations he had made regarding

Clark’s directions. And despite his counsel’s warning, the Defendant took no steps to comply with

the Committee’s subpoena.

       On October 15, 2021, the Committee Chair sent a letter advising the Defendant that the

Committee would meet on October 19 to consider initiating contempt proceedings and directed




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the Defendant to raise any issues regarding his noncompliance for the Committee’s consideration

by 6:00 p.m. on October 18. Indictment ¶ 20.

       On October 16, 2021, Clark again advised Mr. Costello that Mr. Costello was

misrepresenting former President Trump’s position to the Committee—particularly with respect

to the Defendant’s decision not to appear for his deposition—writing:

       Just to reiterate, our letter referenced below [the October 6 letter from Clark to Mr.
       Costello] didn’t indicate that we believe there is immunity from testimony for your
       client. As I indicated to you the other day, we don’t believe there is. Now, you
       may have made a different determination. That is entirely your call. But as I also
       indicated the other day other avenues to invoke the privilege - if you believe it to
       be appropriate - exist and are your responsibility. If you haven’t already I’d
       encourage you again to contact counsel for the committee to discuss it further.

Ex. 7 at US-000985 (October 14-18, 2021, Costello and Clark Email Exchange). Still the

Defendant did not comply with the subpoena. Instead, two days later, Mr. Costello asserted to

Clark, without support, that “President Trump’s invocation of those privileges absolutely limits

Mr. Bannon’s ability to testify before Congress and provide documents.” Id. at US-000984. This,

despite Mr. Costello’s acknowledgment to the Government that it was the former President, not

Mr. Costello and the Defendant, who delineated the outlines of any claim of executive privilege

the former President may assert. ECF No. 28-4 at 4 (“Costello did not know who or what was

covered under Executive Privilege but that decision was up to former President Trump and the

courts.”). Mr. Costello also again asked Clark to confirm to the Committee that former President

Trump was asserting privileges. Ex. 7 at US-000984. Clark never did. Incredibly, even in light

of Clark’s messages, and the opportunity the Committee had offered to the Defendant to cure his

complete noncompliance with the subpoena, the Defendant still took no steps to comply.

       The Defendant’s recitation of his supposed good-faith defense is irrelevant to the merits of

the Government’s motion because it is a matter of law, not fact, that bars good faith as a defense.




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But there is no doubt that, as a factual matter, the Defendant lacks one in any event—the record

above is littered with bad faith. The Defendant’s attempt to suggest his is a sympathetic case that

warrants ignoring controlling law is therefore particularly unavailing. The Court, however, need

not reach those factual issues for the purposes of the Government’s motion, because, whether

asserted in good or bad faith, the Defendant’s reliance on his and his counsel’s opinions of the law

are not available as a defense to contempt of Congress.

II.    The Defendant’s Claims that a Good-Faith Defense is Available for Contempt of
       Congress are Meritless.

       The Defendant wishes to raise a defense that he believed, based on his attorney’s advice,

that the Committee and its subpoena were unlawful and therefore he was excused from compliance

with the subpoena’s demands.       By this defense, the Defendant concedes that he made an

intentional, deliberate decision not to appear or produce a single record. He did not fail to appear

because he mistakenly thought he was to appear on a different day. He did not fail to produce

records because he mistakenly believed that the Committee had given him an extension. He failed

to appear or produce records because he made an intentional decision to do so. Having now

admitted that he had the requisite intent under the law to commit the offense, he searches for any

way out. But the law is the law. The Supreme Court has long made clear that Congress’s authority

to conduct investigations is not subject to the legal and political machinations of its witnesses. If

it were, Congress would have no authority at all. Accordingly, the Supreme Court’s and this

Circuit’s controlling precedents clearly establish that an intentional refusal to comply, regardless

of the motive, is a contemptuous act subject to criminal sanction.

       In support of his attempt to avoid controlling law, the Defendant makes several unavailing

arguments. First, he claims that one of this Circuit’s controlling precedents, Licavoli v. United

States, 294 F.2d 207 (D.C. Cir. 1961), has been invalidated. ECF No. 30 at 13. Second, the



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Defendant claims that the Government is attempting to make congressional contempt a strict

liability offense and to deny him a defense. Id. at 10, 14. Third, the Defendant claims that any

guidance this Court may find in the contempt of Court context must be ignored. Id. at 22-24. To

make his arguments, the Defendant misapplies and ignores applicable legal principles. His claims

must be rejected and the Government’s motion to exclude evidence or argument relating to good-

faith reliance on the law and advice of counsel must be granted.

       A.      Licavoli Remains the Controlling Law of this Circuit.

       In Licavoli, the D.C. Circuit held that advice of counsel is not a defense for a defendant

who “willfully makes default.” 294 F.2d at 209. The holding is directly on point and controlling

in this case. The Defendant contests this and makes two claims in support of his position. First,

he claims that Licavoli’s holding is based on a prior Supreme Court holding in Sinclair v. United

States, 279 U.S. 263 (1929), that since has been overturned. ECF No. 30 at 13. Second, he claims

that the Supreme Court has, since Licavoli, “provided clarity” on the meaning of willfulness that

has invalidated any meaning requiring less than a defendant’s knowledge that his conduct was

unlawful. Id. The Defendant is wrong on both fronts.

               1.     The Relevant Holding of Sinclair Has Never Been Invalidated.

       The Defendant claims that the controlling precedent in Licavoli must fall because,

according to him, it relies on the Supreme Court’s opinion in Sinclair. He is incorrect.

       As an initial matter, Licavoli’s holding on the meaning of “willfully makes default” is not

based on Sinclair. Instead, the D.C. Circuit found that the Supreme Court’s decisions in United

States v. Bryan, 339 U.S. 323 (1950), and United States v. Fleischman, 339 U.S. 349 (1950), had

established that “he who deliberately and intentionally fails to respond to a subpoena ‘willfully




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makes default.’” 294 F.2d at 208. In Bryan (1950),1 the defendant was summoned by a committee

of the U.S. House of Representatives to appear and produce records. 339 U.S. at 324-25. In

response, the defendant appeared but refused to produce records because “‘after consulting with

counsel (she) came to the conclusion that the subpoena was not valid’ because the Committee had

no constitutional right to demand the books and records.” Id. at 325. After the defendant was

convicted at trial, the Supreme Court found that where the Government introduced evidence “that

respondent had been validly served with a lawful subpoena directing her to produce records within

her custody and control, and that on the day set out in the subpoena she intentionally failed to

comply, it made out a prima facie case of wilful default.” Id. at 330; see also id. at 328

(“Respondent does not and cannot, in view of the jury’s verdict, contest the finding that she

deliberately and intentionally refused to produce the papers called for in the subpoena.”).

       After finding that, based on Bryan (1950) and Fleischman, willfulness in the context of

congressional contempt meant an intentional and deliberate refusal to comply with a congressional

subpoena, the Licavoli court found that the intent the Supreme Court required for willful default

was the same as that articulated by the Court in Quinn v. United States, 349 U.S. 155 (1955), for

a refusal to answer pertinent questions when appearing for testimony pursuant to a congressional

subpoena. Licavoli, 294 F.2d at 208. Having found that the two intent standards were the same,

the Court then relied on the Supreme Court’s finding in Sinclair, a case addressing a refusal to

answer questions once the witness had appeared, that advice of counsel was not a defense to that

standard. Id. at 207, 209. From its review of the relevant Supreme Court cases, the Licavoli court

ultimately concluded, “[a]ll that is needed in either event is a deliberate intention to do the act.




       1
       Because there are two Supreme Court cases at issue in this brief titled “Bryan,” the
Government will include the year of the relevant opinion in its short cites to avoid confusion.

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Advice of counsel does not immunize that simple intention.” Id. at 209.

        Bryan (1950) and Fleischman still stand. The Defendant does not argue otherwise.

Regardless of the status of Sinclair, therefore, Licavoli’s conclusion from Bryan (1950) and

Fleischman that “[e]vil motive is not a necessary ingredient of willfulness under this clause of the

statute,” id. at 208, is untouched. Nor does the Defendant explain why two other Circuit precedents

deciding the same issue of how willfulness is defined under the statute are no longer controlling.

Several years before Licavoli, the D.C. Circuit in Dennis v. United States, similarly rejected that

“to make out a case of wilfulness under the statute it was necessary that the Government be

required to allege and prove that the act of refusal shall have been done from a bad purpose or evil

motive.” 171 F.2d 986, 990 (D.C. Cir. 1948). A year before that, in Fields v. United States, the

D.C. Circuit affirmed the district court’s instruction to the jury that, under Section 192, “[t]he word

‘willful’ does not mean that the failure or refusal to comply with the order of the committee must

necessarily be for an evil or a bad purpose. The reason or the purpose of failure to comply or

refusal to comply is immaterial, so long as the refusal was deliberate and intentional and was not

a mere inadvertence or an accident.” 164 F.2d 97, 100 (D.C. Cir. 1947). The Defendant does not

address any of these precedents or why Sinclair’s status would have any bearing on them. Because

they still stand and are controlling law, even without Sinclair, therefore, the basis for excluding

advice of counsel still exists.

        Nevertheless, the relevant holding of Sinclair, that advice of counsel is no defense to

congressional contempt, has not been overruled. In Sinclair, the Supreme Court affirmed the

defendant’s conviction for refusing to answer a pertinent question posed by a U.S. Senate

committee. 279 U.S. at 289-90. In affirming the conviction, the Supreme Court decided several

issues, including whether the committee’s inquiry had a legislative purpose, id. at 291-295;




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whether a resolution to continue the committee’s investigative authority was sufficient to do so

where it failed to directly reference the prior resolution, id. at 295-96; whether the question posed

was pertinent, id. at 296-98; whether the question of pertinency was for the judge or jury, id. at

298-99; and whether the defendant was entitled to present evidence that he relied in good faith on

his counsel’s advice not to answer the question, id. at 299. The Court decided each of these issues.

With respect to whether the judge or jury decides pertinence, the Court held it was a question of

law for the court. Id. at 298-299. With respect to whether the defendant could present an advice-

of-counsel defense, the Court held that he could not because the offense did not involve “moral

turpitude” and “intentional violation is sufficient.” Id. at 299.

       In United States v. Gaudin, the Supreme Court held that “materiality,” as an element of the

offense under 18 U.S.C. § 1001, the false statements statute, must be determined by the jury, not

the court. 515 U.S. 506, 522-23 (1995). In holding as such, the Court directly addressed and

overturned Sinclair’s holding that pertinency was a question for the court. Id. at 519-21. The

Court, however, never overturned Sinclair’s other holdings. It did not even reference them. The

Defendant nevertheless claims that all of Sinclair was invalidated and that all of Licavoli therefore

falls. His argument misunderstands principles of stare decisis.

       Courts, including the Supreme Court, recognize that, when the Supreme Court overrules

one holding in an opinion, it does not automatically overrule every pronouncement of law therein.

See, e.g., Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (citing

Henry v. A.B. Dick Co., 224 U.S. 1, 48 (1912) for the proposition that a presumption arises of

intent to infringe a patent where an article sold only can be used for the infringing purpose, despite

other parts of Henry being overruled by the Court in Motion Picture Patents Co. v. Universal Film

Mfg. Co., 243 U.S. 502, 518 (1917)); Avila v. Dailey, 246 F. Supp. 3d 347, 355 (D.D.C. 2017)




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(citing Monroe v. Pape, 365 U..S. 167 (1961) for the proposition that individual law enforcement

officers are subject to suit under 42 U.S.C. § 1983, despite another holding of Monroe being

overruled by the Supreme Court in Monell v. Dep’t of Soc. Servs. Of City of N.Y., 436 U.S. 658

(1978)). There is no basis, therefore, to conclude that, because Gaudin overturned one holding of

Sinclair, it overturned all of them.

       The Defendant selectively quotes from the Court’s opinion in Gaudin to try to suggest that

the Court did, in fact, expressly overrule all of Sinclair’s holdings. But when the Defendant’s

chosen excerpts are read in context, it is clear that the Court did not. For example, the Defendant

cites the Gaudin Court’s statement that “[o]ther reasoning in Sinclair, not yet repudiated, we

repudiate now,” ECF No. 30 at 13 (quoting Gaudin, 515 U.S. at 520), as evidence that “[t]he

Supreme Court has eviscerated Sinclair in no uncertain terms,” id. What he does not cite, however,

is that the “other reasoning” of Sinclair the Court repudiates is clearly identified and delineated in

the very next sentence through the following paragraph of the opinion, and it relates only to

Sinclair’s assertion that the question of pertinency is like the question of relevance for the

admission of trial evidence and Sinclair’s assertion that materiality in perjury cases is a question

of law for the court. Gaudin, 515 U.S. at 520-21. These two propositions are irrelevant to the

issue of intent. Rejecting them, therefore, does nothing to undermine the reasoning behind the

Sinclair Court’s holding that advice of counsel provides no defense to the intent element of

contempt of Congress. The Defendant’s attempt to twist Gaudin’s holding to do so fails.

               2.      Bryan (1998) and Ratzlaf Do Not Overcome the Controlling Supreme
                       Court and Circuit Precedents.

       Without any analysis, the Defendant claims that the Supreme Court’s later decisions in

Bryan v. United States, 524 U.S. 184 (1998), and Ratzlaf v. United States, 510 U.S. 135 (1994),

control the meaning of “willful” under 18 U.S.C. § 192 and require the Government to prove that



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the Defendant knew his conduct was unlawful. ECF No. 30 at 13. According to the Defendant,

the opinions represent a “progression over time in the Supreme Court’s construction of the word

‘willfully,’” and he suggests they therefore invalidate any prior holding that “willful” in the context

of congressional contempt means an intentional and deliberate decision. ECF No. 30 at 12. The

Defendant’s conclusory assertion is incorrect.

       To understand why the Defendant’s claims about Bryan’s (1998) and Ratzlaf’s effect are

wrong, it is necessary to first review the different standards of willfulness the Supreme Court has

recognized through its jurisprudence. The highest standard is that articulated in Cheek and Ratzlaf

for criminal tax and currency structuring offenses, in which a defendant’s conduct is “willful” only

if the defendant was aware that his conduct violated a specific legal duty. Cheek v. United States,

498 U.S. 192, 199-201 (1991) (applying this standard to criminal tax offenses); Ratzlaf, 510 U.S.

at 149 (requiring the government under structuring statutes to prove that the defendant knew the

structuring in which he was engaged was unlawful).            In both cases, the Supreme Court’s

interpretation of “willful” grew from a concern that, without defining it by the heightened standard,

the highly regulatory offenses would ensnare innocent conduct. See Cheek, 498 U.S. at 199-200

(noting that “[t]he proliferation of statutes and regulations has sometimes made it difficult for the

average citizen to know and comprehend the extent of the duties and obligations imposed by the

tax laws”); Ratzlaf, 510 U.S. at 144-45 (expressing concern for individuals who structure

transactions for reasons other than avoiding the relevant reporting requirement).

       The next level of “willfulness” is that articulated in Bryan (1998). In Bryan (1998), the

Court held that to “willfully” violate a statute barring the unlicensed sale of firearms, a defendant

had to know his conduct generally was unlawful, even if he did not know the specific law he was

violating. 524 U.S. at 193-96.




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       Finally, the Supreme Court has interpreted “willful” to require only general intent in line

with the traditional rule that ignorance of the law is no defense. In Bryan (1950), as discussed

above, the Court found that willful default had been shown where the Defendant “intentionally

failed to comply.” 339 U.S. at 330. As another example, in Browder v. United States, the Supreme

Court held that “willfully and knowingly” in the context of a statute prohibiting “willfully and

knowingly” using a passport obtained by false statements meant “deliberately and with knowledge

and not something which is merely careless or negligent or inadvertent.” 312 U.S. 335, 341 (1941).

The Court further cited its earlier opinion in United States v. Murdock, 290 U.S. 389 (1933), which

the Defendant also cites, ECF No. 30 at 11, for the proposition that “the word ‘willful’ often

denotes an intentional as distinguished from an accidental act. Once the basic wrong under this

passport statute is completed, that is the security of a passport by a false statement, any intentional

use of that passport in travel is punishable,” id. at 342; see also United States v. George, 386 F.3d

383, 388-89 (2d Cir. 2004) (Sotomayor, J.) (applying Browder’s definition of “willfully and

knowingly” to find that another provision of the same statute similarly did not require proof that

the defendant knew his conduct was unlawful); United States v. Aifang Ye, 808 F.3d 395, 399 &

n.2 (9th Cir. 2015) (same).

       In neither Cheek, Ratzlaf, nor Bryan (1998) did the Supreme Court purport to re-define

“willful” as it may have been interpreted in contexts other than those under the statutes at issue in

those cases. As the Court recognized in Bryan (1998), “[t]he word ‘willfully’ is sometimes said

to be ‘a word of many meanings’ whose construction is often dependent on the context in which

it appears.” Bryan, 524 U.S. at 191 (citation omitted). Further, the Court noted that it was only

“typically” that “willful” in the criminal law referred to a culpable state of mind. Id. “Typically”

is not “always.” See Cheek, 498 U.S. at 208-09 (Scalia, J., concurring) (“One may say, as the law




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does in many contexts, that ‘willfully’ refers to consciousness of the act but not to consciousness

that the act is unlawful.”). Indeed, several courts after Cheek, Ratzlaf, and Bryan (1998), including

the D.C. Circuit, have applied the lowest standard of “willful” described above in various contexts,

recognizing that the Supreme Court did not purport to eliminate the word’s various meanings. See,

e.g., George, 386 F.3d at 390-96; United States v. Urfer, 287 F.3d 663, 666 (7th Cir. 2002) (finding

that “willfully” in a statute prohibiting “willfully injur[ing]” federal government property, 18

U.S.C. §§ 1361, 1362, required proof only that the defendants acted deliberately, not that they

knew the act was unlawful, and rejecting that advice of counsel was a defense); United States v.

Hsia, 176 F.3d 517, 521-22 (D.C. Cir. 1999) (finding that “willfully” under 18 U.S.C. § 2(b),

which imposes criminal liability as a principal on “[w]hoever willfully causes an act to be done

which if directly performed by him or another would be an offense against the United States,” did

not require that the defendant knew her conduct was unlawful); United States v. Georgopoulos,

149 F.3d 169, 171-72 (2d Cir. 1998) (per curiam) (holding that 29 U.S.C. § 186(d)(2), which

imposes criminal penalties on anyone who “willfully violates” a statute prohibiting certain

payments to union officials, did not require the government to prove that “appellants had acted

with bad purpose and with knowledge that their conduct was unlawful” but merely required a

showing of general intent); cf. United States v. Danielczyk, 917 F. Supp. 2d 573, 576-77 (E.D. Va.

2013) (reviewing the three standards of willfulness).

       The Defendant cites two cases from this Circuit, Burden and Zeese, as evidence that courts

here have read Cheek, Ratzlaf, and Bryan (1998) to eliminate other meanings of “willful.” ECF

No. 30 at 13. The cases on which the Defendant relies do not support such a claim. In Zeese, the

district court recognized that, with respect to “willfulness,” “[a]s the Supreme Court hinted in

Bryan, in some cases, the government may be able to satisfy this element of the offense by relying




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on the ‘traditional rule that ignorance of the law is no excuse.’” 437 F. Supp. 3d 86, 96 (D.D.C.

2020) (quoting Bryan, 524 U.S. at 196). In Burden, the D.C. Circuit cited Bryan’s (1998) note

that willfulness has many meanings depending on the context and was deciding only the parties’

dispute as to whether Bryan (1998) or Ratzlaf/Cheek applied to the statute at issue. 934 F.3d 675,

689-90 (D.C. Cir. 2019). The court was not asked to and did not decide whether the spectrum of

willfulness was limited to those two standards.

       In any event, given that Cheek, Ratzlaf, and Bryan (1998) did not directly address the

contempt of Congress statute and did not expressly overrule the Supreme Court’s prior precedents

in Bryan (1950) or Fleischman, to find that it overruled them nevertheless, this Court would have

to conclude that the Supreme Court overruled its prior holdings on willfulness as used in other

statutes—not just in Bryan (1950), but also in cases like Browder—by implication. The Supreme

Court has made clear, however, that “[w]e do not acknowledge, and we do not hold, that other

courts should conclude our more recent cases have, by implication, overruled an earlier precedent.

We reaffirm that ‘[i]f a precedent of this Court has direct application in a case, yet appears to rest

on reasons rejected in some other line of decisions, the Court of Appeals should follow the case

which directly controls, leaving to this Court the prerogative of overruling its own decisions.’”

Agostini v. Felton, 521 U.S. 203, 237 (1997) (quoting Rodriguez de Quijas v. Shearson/American

Express, Inc., 490 U.S. 477, 484 (1989)). The D.C. Circuit has followed this direction, refusing

to find on-point Supreme Court precedents overruled even where the Supreme Court itself has

expressed doubts as to its continuing viability in light of later cases. See, e.g., United States v.

Webb, 255 F.3d 890, 897-98 (D.C. Cir. 2001) (refusing to reject a Supreme Court precedent that

had not been expressly overruled even where the Supreme Court had expressed skepticism about

the prior holding in a later opinion) (citing Agostini, 521 U.S. at 237); United States v. Weathers,




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186 F.3d 948, 955-57 (D.C. Cir. 1999) (finding the court could not assume that the Supreme

Court’s discussion of the meaning of “waiver” under Fed. R. Crim. P. 52(b) in one case

“redefin[ed] sub silentio the meaning of the word ‘waiver’” under Fed. R. Crim. P. 12 and thus

overruled a prior Supreme Court precedent regarding waiver under Rule 12 where the later case

did not mention the prior precedent or Rule 12). Bryan (1950) and Fleischman are directly on

point, outlining the meaning of “willful default” under Section 192. Under the Supreme Court’s

direction, they control the meaning of willful in this case.

        Aside from requiring this Court to find that the Supreme Court silently overturned its prior

precedents, the Defendant’s position also would require the Court to ignore binding Circuit

precedent in Licavoli, Dennis, and Fields that is directly on point, something it also cannot do.

“[D]istrict judges . . . are obligated to follow controlling circuit precedent until either [the Circuit],

sitting en banc, or the Supreme Court, overrule it.” United States v. Torres, 115 F.3d 1033, 1036

(D.C. Cir. 1997); see also Rouse v. Berry, 848 F. Supp. 2d 4, 10 (D.D.C. 2012) (“The decisions of

the D.C. Circuit . . . are binding on the lower courts of this circuit ‘unless and until overturned by

the court en banc or by Higher Authority.’” (quoting Critical Mass Energy Project v. Nuclear

Regul. Comm’n, 975 F.2d 871, 876 (D.C. Cir. 1992) (en banc)). Neither Licavoli, Dennis, nor

Fields has been overturned by the D.C. Circuit or the Supreme Court. Even if this Court were to

conclude that Cheek, Ratzlaf, and Bryan (1998) weakened the reasoning of Licavoli, Dennis, and

Fields, this Court is still bound by them. As described above, Bryan (1998), Cheek, and Ratzlaf

neither address Section 192 nor do they claim to limit other definitions of willfulness such that

they are incompatible with this Circuit’s precedents on Section 192. Where intervening Supreme

Court opinions do not address the specific statute at issue in the lower court matter, district courts

do not find the intervening opinion to have overturned controlling circuit precedent that does




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address the specific statute, even if the intervening Supreme Court opinion casts doubt on the

circuit’s prior holding. See Brookens v. Acosta, 297 F. Supp. 3d 40, 47 (D.D.C. 2018) (“[L]ower

courts . . . , out of respect for the great doctrine of stare decisis, are ordinarily reluctant to conclude

that a higher court precedent has been overruled by implication.” (quoting Levine v. Heffernan,

864 F.2d 457, 461 (7th Cir. 1988)) (citing Agostini, 521 U.S. at 207)); Mdewakanton Sioux Indians

of Minnesota v. Zinke, 264 F. Supp. 3d 116, 130 n.21 (D.D.C. 2017) (“However, because the D.C.

Circuit has not yet addressed the application of [a more recent Supreme Court opinion] to §

2401(a), this Court continues to follow the D.C. Circuit’s prior conclusion until the D.C. Circuit

addresses it in the first instance.”); In re Chaplaincy, 2016 WL 541126, at *3 (D.D.C. Feb. 9,

2016) (finding the district court remained bound by circuit precedent where it spoke clearly on the

direct issue at hand even where a Supreme Court opinion addressing a similar provision held

otherwise and the Circuit had “recently questioned the continuing viability” of its prior holding)

(citations omitted). Even to the extent the Defendant may believe Bryan (1998), Ratzlaf, or Cheek

calls the controlling precedents into doubt, therefore, that is not a sufficient basis to ignore them.2



        2
          Even if the intermediate level of willfulness applied and the Government had to prove
that the Defendant knew his refusal to comply with the subpoena was unlawful, the advice-of-
counsel defense the Defendant proffered in his opposition still would not be available to him
because it consists solely of advice that the underlying legal duty—the subpoena’s demands—was
legally invalid. See, e.g., ECF No. 30 at 16, 18, 19; ECF No. 30-1 at ¶¶ 12, 18, 26. A good-faith
belief, whether by advice or otherwise, that a legal duty is invalid is not a defense to willfulness.
See Cheek, 498 U.S. at 204-06 (rejecting defendant’s claim that he should be acquitted because
“he believed in good faith that the income tax law is unconstitutional as applied to him and thus
could not legally impose any duty upon him of which he should have been aware,” because the
beliefs “do not arise from innocent mistakes caused by the complexity of the Internal Revenue
Code. Rather, they reveal full knowledge of the provisions at issue and a studied conclusion,
however wrong, that those provisions are invalid and unenforceable.”); Zeese 437 F. Supp. 3d at
100 (“[T]o negate willfulness, a defense must suggest that defendants were unaware that their
conduct was unlawful. A defendant’s claim that the applicable legal duties are invalid, however,
suggests that the defendant knew about the legal duties, thought about the legal duties, and formed
an opinion about those legal duties. Considered disagreement with a legal duty embodied in the



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       Bryan (1950), Fleischman, Licavoli, Dennis, and Fields have direct application in this

case—they define “willful” as the term is used in Section 192 and they delineate available

defenses. Their holdings are clear in their application to this matter and must be followed.

       B.      “Willful Default” as Defined by Controlling Supreme Court and Circuit
               Precedent Does not Create a Strict Liability Offense or Bar the Defendant
               From Raising Legal Defenses.

       The Defendant, likely recognizing the legal infirmity of his assertions that the Court should

ignore controlling precedent, resorts to hyperbole—arguing that defining “willfulness” as a

deliberate and intentional refusal to comply makes contempt of Congress a “strict liability” offense

and denies him his right to put on a defense. E.g., ECF No. 30 at 3, 10, 14. The Defendant

misunderstands the meaning of “willful” and the scope of his right to present evidence at trial.

       As Licavoli made clear, “willfully” under Section 192 divides innocent default—a failure

to appear or produce records due to, “e.g., illness, travel trouble, misunderstanding, etc.”—from

criminal default—a failure to comply due to a deliberate decision to defy the demands of a

congressional subpoena. 294 F.2d at 208. In both circumstances, a defendant may know he is not

appearing or producing records as required. What divides them, however, is whether his failure

to do so was the result of accident or deliberate choice. Without “willfully” in the statute, any

default, for any reason, would be subject to prosecution. Of course, then, the Defendant may

justifiably be concerned that innocent conduct may be captured by the statute. But the Supreme

Court has made clear that deliberate defiance of a congressional subpoena is inherently not

innocent conduct, because a summoned witness is not the arbiter of congressional authority.

Quinn, 349 U.S. at 165-66. The definition of “willful” articulated by the controlling cases thus




criminal law is not a defense to a charged criminal violation, even where the mens rea of the
offense is willfulness.”).

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marks the appropriate dividing line and allows a defense where failure to comply is for reasons

out of a defendant’s control.

       The Defendant further claims that controlling precedents on the meaning of “willful” must

be ignored because it denies him a defense. ECF No. 30 at 10 (“Now, the Government essentially

asks this Court to rule that Mr. Bannon cannot put on a defense.”); id. at 14 (“Mr. Bannon should

be afforded wide latitude to submit his defense to the jury.”); id. at 22 (“He must be allowed to

present evidence that supports any other defense based on his good-faith reliance on the law.”).

He is wrong.

       As an initial matter, the Defendant confuses legal defenses and factual defenses. The

Defendant is not barred from challenging the indictment before this Court on the basis that the

subpoena or the Committee’s exercise of authority was unconstitutional or unlawful. He certainly

can do that at the motion-to-dismiss stage of this case. And it is well-established that contempt of

Congress charges cannot stand if Congress exceeds its legislative authority or encroaches on the

constitutional rights of its witnesses. See Barenblatt v. United States, 360 U.S. 109, 111-12 (1959)

(“The scope of the power of inquiry, in short, is as penetrating and far-reaching as the potential

power to enact and appropriate under the Constitution. Broad as it is, the power is not, however,

without limitations. . . . [T]he Congress, in common with all branches of the Government, must

exercise its powers subject to the limitations placed by the Constitution on governmental action.”).

Such defenses are no different from those raising challenges to criminal charges on other

constitutional grounds, such as vagueness or arguments that a statute’s application in a particular

case violates a defendant’s First Amendment rights. But they are constitutional attacks raising

questions of law for the court, not issues going to the essential elements of the offense for the jury

to decide. See Gaudin, 515 U.S. at 513 (question of law are for the court).




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       A good-faith defense at trial, on the other hand, is not a defense on the merits of a

defendant’s legal opinions, however he may have obtained them. By the time of trial, the merits

of those opinions have been rejected because the indictment still stands. A good-faith reliance

defense is one that negates a heightened willfulness standard by demonstrating that, despite the

inaccuracy of a defendant’s beliefs, a defendant did not hold the requisite criminal intent because

he, in good faith, relied on those inaccurate beliefs and thus believed he was complying with his

legal obligations.   In the contempt of Congress context, however, because the heightened

willfulness standard is not the intent element at issue, good-faith reliance is not available as a

defense. Accordingly, while the Defendant still can raise the merits of his legal claims about the

subpoena’s and Committee’s legal validity to challenge the indictment through motions to dismiss,

once he loses, he cannot then assert good-faith reliance on those claims as a defense at trial.

       The Defendant’s confusion between legal and factual defenses is evident in his misreading

of the Supreme Court’s decision in Yellin v. United States, 374 U.S. 109 (1963). See ECF No. 30

at 14. In Yellin, the Supreme Court found that a congressional committee’s violation of one of its

rules provided a basis for acquittal that the defendant could raise where the rule gave the defendant

certain rights before the committee. 374 U.S. at 122-23. Yellin also made clear, however, that

should the merits of the defendant’s claims fail, he could not raise a good-faith reliance on them

as a defense. 374 U.S. at 123. It is the first finding of the Yellin opinion that the Defendant cites

in his opposition to argue that “[t]his language supports the rule that a witness who offers evidence

of a good faith and valid reason for not complying a [sic] congressional subpoena may be entitled

to acquittal.” ECF No. 30 at 14. The Defendant combines two defenses, however—a “good faith”

defense and a defense that his constitutional objection to the subpoena actually has merit. The

Government does not dispute that the Defendant can argue the merits of his legal beliefs as a




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defense in a motion to dismiss the indictment, but the law makes clear that he cannot then rely on

his erroneous reliance on those beliefs as a factual defense to willfulness at trial.

       Finally, the Defendant seems to suggest that, at the very least, he should be allowed to raise

an advice-of-counsel defense in any event because “the specific circumstances of this case further

demonstrate that advice of counsel is a core issue that must be presented to the jury.” ECF No. 30

at 15 (emphasis in original). This perhaps explains why the Defendant provides a lengthy factual

recitation of his proffered advice-of-counsel defense to answer a motion that moves to exclude the

defense as a matter of law.3 But the intent standard for a particular criminal offense does not shift

with the particular facts of each case. Cf. Ratzlaf, 510 U.S. at 143 (“We have even stronger cause

to construe a single formulation, here § 5322(a), the same way each time it is called into play.”)

(rejecting that the penalty provision applicable to multiple offenses takes on a different meaning

depending on the offense to which it is applied). That the Defendant in his particular case refused

to comply on spurious claims of executive privilege has no bearing on the applicable intent

standard. Nor can the regret the Defendant’s attorney may feel in leading him down this path

change the intent standard. Cf. Maness v. Meyers, 419 U.S. 449, 459-60 (1975) (“A lawyer who



       3
           Of course, a proffer does not suffice to show the Defendant is entitled to have the jury
consider an advice-of-counsel defense in any event, as the Defendant still would need to
demonstrate that he made full disclosure of all material facts to his attorney before receiving advice
and that he relied in good faith on the advice he received. United States v. Gray-Burriss, 920 F.3d
61, 66 (D.C. Cir. 2019). Moreover, a defendant who asserts advice-of-counsel waives privilege,
e.g., United States v. White, 887 F.2d 267, 270 (D.C. Cir. 1989) (noting that a reliance on advice-
of-counsel defense waives attorney-client privilege); United States v. Crowder, 325 F. Supp. 3d
131, 138 (D.D.C. 2018) (“Moreover, even otherwise-privileged communications that defendants
do not intend to use at trial, but that are relevant to proving or undermining the advice-of-counsel
defense, are subject to disclosure in their entirety.” (internal quotation marks and citation
omitted)), and the counsel who offered the advice is disqualified from representation because he
becomes a fact witness, see Groper v. Taff, 717 F.2d 1415, 1418 (D.C. Cir. 1983) (affirming
disqualification of counsel where counsel was also a potential witness at trial); ABA Model Rule
of Professional Conduct 3.7(a) (“A lawyer shall not act as advocate at a trial in which the lawyer
is likely to be a necessary witness.”)

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counsels his client not to comply with a court order during trial would, first, subject his client to

contempt.”). The Defendant may not like that the law renders his preferred defense irrelevant, but

that does not mean the statute unconstitutionally bars him from putting on a defense. See United

States v. Libby, 475 F. Supp. 2d 73, 91 (D.D.C. 2007) (“[A]lthough the Constitution entitles a

defendant an opportunity ‘to present [his] version of the facts . . . to the jury so it may decide where

the truth lies,’ that guarantee extends only to relevant evidence.” (quoting Washington v. Texas,

388 U.S. 14, 19 (1967)) (citations omitted)). The Defendant’s attempts to justify his legal position

because his defiance occurred under what he deems special circumstances should be rejected.

        C.      The Defendant’s Attempts to Distinguish Contempt of Court Fail.

        As outlined in its opening brief, both contempt of Congress and contempt of court, the

latter in violation of 18 U.S.C. § 401(3), require that a defendant’s contempt be “willful,” and

courts have defined the term to have the same meaning for both offenses. See ECF No. 29 at 6-7.

The Supreme Court has recognized that contempt raises the same issues whether the contempt

results from defiance of a congressional subpoena or defiance of a court subpoena. In Bryan

(1950), for example, the Court relied on contempt of court principles in its reasoning for rejecting

the defendant’s claim that her default on a congressional subpoena should be excused because the

relevant committee lacked a quorum. 339 U.S. at 330-35 (citing contempt of court cases,

including, United States v. Goldstein, 105 F.2d 150 (2d Cir. 1939); Blair v. United States, 250 U.S.

273 (1919); and Hale v. Henkel, 201 U.S. 43 (1906)). The Court addressed the two offenses

interchangeably when discussing a subpoenaed witness’s obligations:

        [P]ersons summoned as witnesses by competent authority have certain minimum
        duties and obligations which are necessary concessions to the public interest in the
        orderly operation of legislative and judicial machinery. A subpoena has never been
        treated as an invitation to a game of hare and hounds, in which the witness must
        testify only if cornered at the end of the chase. If that were the case, then, indeed,
        the great power of testimonial compulsion, so necessary to the effective functioning



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       of courts and legislatures, would be a nullity. We have often iterated the importance
       of this public duty, which every person within the jurisdiction of the Government
       is bound to perform when properly summoned.

Id. at 331 (citing Blair, 250 U.S. at 281 (contempt of court case); Blackmer v. United States, 284

U.S. 421, 438 (1932) (same)).

       The Defendant claims contempt of court is different because it serves to keep the court

system functioning and reflects the “power inherent in all courts to enforce obedience which they

must possess in order properly to perform their functions.” ECF No. 30 at 22-23 (quoting Myers

v. United States, 264 U.S. 95, 103 (1924)) (internal quotation marks omitted). He fails to

acknowledge, however, that the Supreme Court has recognized the same purpose in contempt of

Congress. Bryan, 339 U.S. at 327 (finding contempt of Congress is a means of “vindicating the

authority of Congress to compel the disclosure of facts which are needed in the fulfillment of the

legislative function”). The Defendant also claims that contempt of court is different because it is

not a criminal prosecution. ECF No. 30 at 22 (“Contempt of court cases are different in nature

than civil actions or criminal prosecutions.”). But the Supreme Court has held the opposite, finding

that defendants in contempt of court cases are entitled to the same due process rights of any

criminal defendant. See Bloom v. State of Ill., 391 U.S. 194, 201 (1968) (“Criminal contempt is a

crime in the ordinary sense.”) (finding a constitutional right to a jury trial for contempt of court).

       The Defendant’s attempts to distinguish contempt of court from contempt of Congress

appear to be aimed instead at avoiding the inevitable result of applying the Defendant’s position

vis-à-vis the meaning of “willful” to contempt of court. The Defendant takes the position that

“willful” when used in the criminal law can mean nothing less than that a defendant knew his

conduct was unlawful. This in turn allows defendants to raise defenses that they lack criminal

intent because of good-faith reliance on the law. The consequences of this position for contempt




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of court are just as clear as for contempt of Congress, however. Litigants and witnesses could

refuse to comply with a court order to appear for testimony or produce documents by simply hiding

behind their own claims of belief or the advice of a lawyer that the order was an invalid exercise

of the court’s authority. It would be the exact “game of hare and hounds” that the Supreme Court

in Bryan (1950) found contempt charges to guard against. 339 U.S. at 331.

       The Defendant’s attempts to have this Court disregard any persuasive authority it may find

in contempt of court cases are based on unfounded distinctions that this Court should reject.4

III.   Conclusion

       The Defendant’s counsel asserts he is “baffled” by the notion that the Defendant would not

be able to use his supposed belief that the subpoena was legally invalid as a defense at trial. But

that is the law. It is clearly established in directly applicable and controlling Supreme Court and

Circuit precedents. Defendant was served with a subpoena and failed to do anything that the

subpoena required him to do. That was a choice he could make. But, as the Supreme Court has

recognized, it is a choice that equates to contempt. The Government’s motion to exclude all

evidence and argument of good-faith reliance on the law or advice of counsel should be granted.




       4
          The Defendant also suggests the Court cannot look to contempt of court cases unless a
cannon of statutory construction so allows. ECF No. 30 at 4. But cannons of statutory construction
are irrelevant. The Court does not have to engage in statutory construction here. The Supreme
Court and D.C. Circuit have already defined willfulness as it is used in Section 192. Because the
definition is the same as that for “willful” in the contempt of court context, there is nothing barring
the Court from looking to contempt of court cases for examples of how the definition is applied.
That “willful” has already been defined is also why the rule of lenity is not available, as the
Defendant claims. ECF No. 30 at 12 n.4. “The rule of lenity . . . applies only if, ‘after considering
text, structure, history, and purpose, there remains a grievous ambiguity or uncertainty in the
statute such that the Court must simply guess as to what Congress intended.’” United States v.
Slatten, 865 F.3d 767, 783 (D.C. Cir. 2017) (quoting Maracich v. Spears, 570 U.S. 48, 76 (2013)).
The Supreme Court in Bryan (1950) and the D.C. Circuit in Fields, Dennis, and Licavoli have
found no such ambiguity in defining “willful” under Section 192 and finding an advice-of-counsel
defense unavailable.

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                            Respectfully submitted,

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